458 F.2d 391
    UNITED STATES of America, Appellant,v.ONE 1964 CADILLAC, 2-DOOR COUPE, SERIAL NO. 64J097702,License No. OWY 161, its tools and appurtenances,Joseph D. Lovato, Claimant-Appellee.
    No. 26170.
    United States Court of Appeals,Ninth Circuit.
    March 9, 1972.
    
      Robert L. Meyer, U. S. Atty., James Stotter, II, Asst. U. S. Atty., Frederick M. Brosio, Jr., Chief, Civil Div., Los Angeles, Cal., for appellant.
      Barry Tarlow, Los Angeles, Cal., for claimant-appellee.
      Before MERRILL, BROWNING, and ELY, Circuit Judges.
      PER CURIAM:
    
    
      1
      The Government seized a Cadillac automobile upon the ground that it had been employed in connection with the illegal transportation of certain contraband from Mexico into the United States.  The claimant-appellee successfully resisted the Government's subsequent attempt, under 19 U.S.C. Secs. 1485 and 1595a(a), to obtain a judgment of forfeiture.
    
    
      2
      The District Court found, in effect, that the automobile in question had not been used to facilitate the transportation of the contraband.  This determination followed the District Court's consideration of all the testimony which the Government chose to offer in support of its claim, and we are not persuaded that the District Court's critical finding was clearly erroneous.
    
    
      3
      Affirmed.
    
    